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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


Brian Garrett, et al.,

              Plaintiffs,                    Lead Action 2:18-cv-692

      v.                                     Judge Michael H. Watson

The Ohio State University,                   Chief Magistrate Judge Deavers

              Defendant.

                                      ORDER

      In the past few months, this case and the consolidated and related cases

thereto have started to veer into two distinctly separate tracks. About half of the

Plaintiffs have reached a tentative settlement agreement with The Ohio State

University. But the remainder of Plaintiffs have voiced frustration with the

mediation process and have asked this Court to reinstate a case schedule. Until

recently, however, the Court had not received word from the mediator that the

situation warranted parallel mediation and litigation efforts. Having now been so

informed by the mediator, the Court PARTIALLY LIFTS the mediation stay and

ORDERS the following:

      1. Case Numbers 2:19-cv-2237, 2:19-cv-1911, 2:19-cv-5418, 2:19-cv-

           3165, 2:19-4397, 2:19-cv-4624, 2:19-cv-4634, 2:19-cv-5551, 2:20-cv-

           1188, 2:19-cv-2429, 2:20-cv-1385, and 2:19-cv-4433 (“settling cases”)

           shall be unconsolidated with Case Number 2:18-cv-692 and
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         consolidated with each other. Case Number 2:19-cv-2237 will be the

         new lead case.

      2. Any Plaintiffs from any settling case that do not wish to join the

         settlement (“non-joining Plaintiffs”), and who wish to continue with

         litigation, shall file a new Complaint within the timeframe set forth

         below.

            a. To the extent such non-joining Plaintiffs are represented by the

               same counsel, all non-joining Plaintiffs represented by that

               counsel shall be joined together in a single new complaint. Non-

               joining Plaintiffs who are currently represented by different

               counsel of record are permitted, but not required, to join together

               in a Complaint. In other words, the Court envisions no more than

               one new Complaint by each set of non-joining Plaintiffs who are

               represented by the same group of attorneys.

      3. All cases that have not settled even in part (“non-settling cases”) shall

         be unconsolidated from Case Number 2:18-cv-692 and shall proceed

         simultaneously with litigation and continued mediation.

            a. The non-settling cases shall be listed as related but shall not be

               consolidated with one another.

            b. For administrative efficiency, each group of attorneys who

               represents multiple non-settling cases shall choose one of those

               case numbers in which to file an Amended Complaint that
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               incorporates all of the non-settling Plaintiffs whom that group of

               attorneys represents. Thereafter, the other case numbers

               currently represented by that group of attorneys shall be

               administratively closed without judgment.

            c. Non-settling cases that are currently represented by different

               attorney groups are permitted, but not required, to join together in

               an Amended Complaint.

            d. As with the settling cases that contain non-settling Plaintiffs, the

               goal of this Order is to reduce the amount of non-settling cases

               to, at most, one by each group of attorneys.

            e. Attorney groups who represent more than one current non-

               settling case and feel there is a need for that attorney group to

               maintain more than one non-settling case number shall move the

               Court to do so, explaining specifically why their numerous non-

               settling cases cannot be joined together.

      4. Amended Complaints shall be filed within twenty-one days of the date

         of this Order.

      5. Notwithstanding prior extensions of time, Defendant’s responsive

         pleading, and any subsequent briefing thereto, shall be filed within the

         time established in the Federal Rules of Civil Procedure and the

         Southern District of Ohio’s Local Rules.

      6. Nothing in this Order should be construed as an indication by the Court
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         that mediation efforts should cease. The Court fully expects the parties

         to continue their mediation efforts under the direction of Judge Barrett.

      IT IS SO ORDERED.



                                      ___/s/ Michael H. Watson____________
                                      MICHAEL H. WATSON, JUDGE
                                      UNITED STATES DISTRICT COURT
